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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-053 JAM
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   TIMOTHY CHAPIN,                                    DATE: May 22, 2018
     MANUEL AGUEROS,                                    TIME: 9:15 a.m.
15   PAUL FOURNIER,                                     COURT: Hon. John A. Mendez
     ROBERT LAUTENSLAGER,
16   JEFFREY REILLEY,
     JORGE EGUILUZ,
17
                                 Defendants.
18

19

20                                             STIPULATION

21          1.     The remaining defendants who have not entered guilty pleas in this case are defendants

22 Jorge Eguiluz and Jeffrey Reilley. By previous order, this matter was set for a status conference as to

23 defendants Eguiluz and Reilley on May 22, 2018.

24          2.     By this stipulation, defendants Eguiluz and Reilley now move to continue the status

25 conference until July 10, 2018 at 9:15 a.m., and to exclude time between May 22, 2018, and July 10,

26 2018 at 9:15 a.m., under Local Code T4.

27          3.     The parties agree and stipulate, and request that the Court find the following:

28                 a)      The government has represented that the discovery associated with this case


      STIPULATION REGARDING EXCLUDABLE TIME             1
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 1        includes documents, financial records, video recordings, audio recordings, transcripts, and native

 2        Excel files, Bates-numbered CHAPIN_00000001 through CHAPIN_00019452. All of this

 3        discovery has been either produced directly to counsel and/or made available for inspection.

 4               b)      Counsel for defendants Eguiluz and Reilley desire additional time to review the

 5        discovery and materials produced by the government, review the current charges in light of the

 6        discovery and other materials produced by the government, consult with their respective clients,

 7        conduct investigation and research related to the pending charges, consider potential resolution,

 8        and otherwise prepare for trial. Counsel for Defendant Reilley recently provided a detailed letter

 9        to counsel for the government relating to the possible resolution or trial of this case as to his

10        client, which requires further investigation and discussion.

11               c)      Counsel for defendants Eguiluz and Reilley believe that failure to grant the above-

12        requested continuance would deny him the reasonable time necessary for effective preparation,

13        taking into account the exercise of due diligence.

14               d)      The government does not object to the continuance.

15               e)      Based on the above-stated findings, the ends of justice served by continuing the

16        case as requested outweigh the interest of the public and the defendant in a trial within the

17        original date prescribed by the Speedy Trial Act.

18               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

19        et seq., within which trial must commence, the time period of May 22, 2018 to July 10, 2018 at

20        9:15 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

21        Code T4] because it results from a continuance granted by the Court at defendant’s request on

22        the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

23        best interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5

 6
     Dated: May 16, 2018                                     MCGREGOR W. SCOTT
 7                                                           United States Attorney
 8
                                                             /s/ NIRAV K. DESAI
 9                                                           NIRAV K. DESAI
                                                             Assistant United States Attorney
10

11 Dated: May 16, 2018                                       /s/ Nirav K. Desai for Donald H.
                                                             Heller
12                                                           (authorized on May 15, 2018)
                                                             DONALD H. HELLER, ESQ.
13
                                                             Counsel for Defendant
14                                                           JORGE EGUILUZ

15
     Dated: May 16, 2018                                     /s/ Nirav K. Desai for Tim Pori
16                                                           (authorized on May 16, 2018)_
                                                             TIM PORI, ESQ.
17                                                           Counsel for Defendant
                                                             JEFFREY REILLEY
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20
                                           FINDINGS AND ORDER
21
            IT IS SO FOUND AND ORDERED this 17th day of May, 2018.
22

23                                                    /s/ John A. Mendez
                                                      THE HONORABLE JOHN A. MENDEZ
24                                                    UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME              3
      PERIODS UNDER SPEEDY TRIAL ACT
